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 9                       UNITED STATES DISTRICT COURT
10                     CENTRAL DISTRICT OF CALIFORNIA
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12    NISSIM AFRIAT,                            CASE NO.: CV 21-3674-GW-AGR
13                     Plaintiff,             ORDER GRANTING DISMISSAL
                                              WITH PREJUDICE
14         vs.
15    EXPERIAN INFORMATION
      SOLUTIONS, INC., et. al.,
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                       Defendant.
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      Case No.: 2:21-cv-03674-GW-AGR - 1 -
                                [PROPOSED] ORDER
Case 2:21-cv-03674-GW-AGR Document 40 Filed 10/21/21 Page 2 of 2 Page ID #:197




 1         Pursuant to the Stipulation of Dismissal filed by the Parties on October 20,
 2   2021, IT IS HEREBY ORDERED that Plaintiff’s causes of action against Defendant
 3   HYUNDAI CAPITAL AMERICA are dismissed with prejudice. Each party shall
 4   bear its own costs and attorneys’ fees.
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 6         IT IS SO ORDERED
 7
 8   DATED: October 21, 2021
                                               Honorable George H. Wu
 9                                             United States District Judge
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      Case No.: 2:21-cv-03674-GW-AGR - 2 -
                                [PROPOSED] ORDER
